Case 1:05-or-101`¢i3-PBS Dooument 8 Filed 02/08/2006 Page 1 ofi
' Y_r.¢iz[.`aev.ig@s)wanancrorAi-resi _:

United States Disttict Court;

 

 

DisTRicT oF MASSACHUSETTS ._ ij i`
uNiTEo sTATEs oF AMERicA 4 _ .. _ __ _ _
v. WARRANT FoRARREST §~` ‘
COURTNEY WHITE '
DOB: 4/15/1975 CASU|§'BER'G-_ 05'
SSN: XXX-XX-XXXX CR 1 1 4 3 PBS

To: The United States Marsha|
and any Authorized United States Off`icer

YOU ARE HEREBY COMMANDED to arrest COURTNEY WI-IITE

Name

and bring him forthwith to the nearest magistrate to answer a(n)

X indictment El |nformation E\ Compiaint Cl Order of court C\ Vioiation Notice Ei Probation thion R`;tition

 

 

 

 

 

 

 

 

 

 

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~ States Code Section 922¢g1(11. 0 ;.-.,
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SJEM`;SQ/
Titie of issuing Offioer
Date and Lomtion
by
Name of .|udicia| Ofiioer
RETURN
This warrant was received and executed with the arrest of the above-named defendant at
` 12
DATE RECE\vED NAME AND TiTLE oF ARRESTiN_c; F§JFEKECUT ED z F A RE iNG oFF\cER
NI)ANT ON »-~“"
DATE oF ARREST oEFE

 

 

 

 

 

